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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

LISA DUER                        ) CIVIL ACTION FILE
                                 )
                     Plaintiff,  )
                                 )
    v.
                                 ) NO. 1:14-cv-01589-ELR
BENSUSSEN DEUTSCH &
                                 )
ASSOCIATES, INC.; and ELI LILLY
                                 )
AND COMPANY;
                                 )
                     Defendants. )
                                 ) JURY TRIAL DEMANDED



                          THIRD AMENDED COMPLAINT
      Plaintiff LISA DUER (“Duer”) files this Third Amended Complaint for patent

infringement, copyright infringement, trade dress infringement, trademark infringement, and

attorneys’ fees against Defendants Bensussen Deutsch & Associates, Inc. (“BDA”) and Eli

Lilly and Company (“Lilly”) (individually and collectively “Defendants”), respectfully

showing the Court as follows:

                             NATURE OF THE ACTION
      1.    This is an action for patent infringement, copyright infringement, trade dress

infringement, trademark infringement and attorneys’ fees arising out of Defendants’

unlawful infringement of a patented medicine dosage adherence tool owned by Duer,

Defendants’ unlawful copying of certain copyrights and trade dress associated with Duer’s
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product, and Defendants’ unlawful infringement of Duer’s trademark Take-n-Slide. Duer

has suffered damages and irreparable harm as a result of Defendants’ unlawful conduct.

                                         PARTIES
      2.     Plaintiff Duer is an individual residing in Woodstock, Georgia which is within

the U.S. judicial district for the Northern District of Georgia, Atlanta Division.

      3.     On information and belief, BDA is a corporation organized and existing under

the laws of the State of Washington, with a principal place of business at 15525

Woodinville-Redmond Road, NE, Woodinville, Washington 98072. BDA maintains offices

within the Northern District of Georgia, conducts business throughout the Northern District

of Georgia, maintains a registered agent at CT Corporation System, 1201 Peachtree Street,

NE, Atlanta, Georgia 30361 and is subject to service of process at that address.

      4.     On information and belief, BDA is a supplier of branded merchandise for Lilly.

      5.     On information and belief, Lilly is a corporation organized and existing under

the laws of the State of Indiana, with a principal place of business at Lilly Corporate Center,

Indianapolis, Indiana 46285. Lilly maintains offices within the Northern District of Georgia,

conducts business throughout the Northern District of Georgia, maintains a registered agent

for service of process at National Registered Agents, Inc., Suite 1240, 1201 Peachtree Street,

NE, Atlanta, Georgia 30361 and is subject to service of process at that address.




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                               JURISDICTION AND VENUE

       6.     This is an action for patent infringement arising under the patent laws of the

United States, 35 U.S.C. § 101 et seq., copyright infringement, trade dress infringement, and

trademark infringement.

       7.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331 and 1338(a)-(b).

       8.     Venue is proper in this judicial district because Defendants are corporations

subject to personal jurisdiction in this judicial district, 28 U.S.C. §§ 1391(b)-(c) and 1400.

       9.     Venue is proper in this judicial district because a substantial part of the events

or omissions giving rise to the claims occurred within this judicial district, and a substantial

part of property that is the subject of the action, namely Duer’s dosage adherence tool

product, package inserts, patent rights, copyrights, trademark, and trade dress rights are

situated in this judicial district.

       10.    Defendants are subject to this Court’s specific and general personal jurisdiction

consistent with the principles of due process and/or the Georgia Long Arm Statute, due at

least to its substantial business in this forum, including: (1) the presence of established

distribution channels in this forum; and (2) regularly doing or soliciting business, engaging

in other persistent courses of conduct, and/or deriving substantial revenue from goods and

services provided to individuals in Georgia and in this judicial district.


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             DUER’S PRODUCT AND INTELLECTUAL PROPERTY
      11.    Duer is in the business of designing, developing, manufacturing, marketing, and

selling medicine dosage adherence tools suitable for affixing to pill bottles. A true and

correct image of Duer’s product is attached hereto as Exhibit A.

      12.    Duer’s product is comprised of seven slides, each representing a day of the

week. When a person takes a pill on Monday, the person moves the Monday slide from green

to red. When a person takes a pill on Tuesday, the person moves the Tuesday slide from

green to red, etc. This assists a person in remembering whether the person took his or her

medicine on a given day.

      13.    Duer markets her product under the trademark “Take-n-Slide” and similar

variations thereof. Duer has sold hundreds of thousands of her Take-n-Slide products. Duer

has been using her trademarks on or in connection with her dosage adherence tool since at

least as early as March 2007.

      14.    Since March 2007, Duer has established extensive common law rights to her

trademarks. Duer is the owner of all right, title and interest in the trademark “Take-n-Slide”

and similar variations thereof.

      15.    Over time, Duer has invested and continues to invest tremendous time, energy

and money promoting her trademarks and dosage adherence tool product identified by her

trademarks. As a result, Duer’s trademarks have become distinctive and acquired a favorable


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reputation in the market as an identifying symbol of services offered by Duer and her

distributor and the goodwill associated therewith.

      16.    U.S. Patent Number 7,614,358, entitled “Method and Device for Recording

Periodic Medicinal Dosages,” was duly and legally issued to Duer on November 10, 2009 by

the U.S. Patent and Trademark Office (the ‘358 Patent). A true and correct copy of the ‘358

Patent is attached hereto as Exhibit B.

      17.    Duer is the owner of the entire right, title, and interest in the ‘358 Patent

including all rights necessary to prosecute this case and collect all damages and equitable

remedies past, present and future, resulting from Defendants’ infringement.

      18.    Duer is also the owner of all right, title and interest in copyrights associated

with a package insert sheet that is packaged with Duer’s product. On the front of the

package insert sheet is an image of Duer’s product attached to a pill bottle, the words “your

logo here” and “U.S. Patent No. 7,614,358”. On the back of the package insert sheet are

instructions to use Duer’s product. A true and correct copy of the front and back of Duer’s

package insert sheet is attached hereto as Exhibit C-1 and C-2. Duer’s package insert is

reflected at copyright registration number VA0001911109, VA0001431705.

      19.    Duer’s Take-n-Slide consists of an inherently distinctive combination of design,

size, shape and color scheme. Duer’s Take-n-Slide is rectangular in shape with the days of

the week organized vertically down the left side of the product. Seven slides corresponding


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to the seven days of the week are organized vertically down the middle of the product.

When a person takes medicine on a given day, the person moves the slide corresponding to

that day from left to right. When the slide is moved, a different color appears next to the

slide. In Duer’s Take-n-Slide, the color green is visible when the slide is in the left position,

and the color red is visible when the slide is in the right position. See Exhibit A and C-1.

      20.    Duer’s trade dress has become well known to the consuming public as being

associated or originating from a single source, namely Duer.

                      DUER’S CONTACT WITH DEFENDANTS

      21.    During 2010 – 2011 Duer, through her distributor Richard Cosgrove of

Anatomed, Inc., had significant discussions with Lilly and BDA regarding the purchase of

Duer’s Take-n-Slide by Defendants.

      22.    As part of those discussions, Duer provided Defendants with sample products,

images of products, and instruction sheets related to the operation of Duer’s product.

      23.    As part of those discussions, Lilly informed Duer that, rather than purchase

products directly from Duer or Anatomed, Lilly wanted Duer to sell her product to BDA

because BDA was already a Lilly approved supplier. BDA would, in turn, sell Duer’s

product to Lilly.




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         24.   In June 2011, BDA sent Anatomed a supplier agreement seeking to formalize an

arrangement where BDA would purchase Duer’s product through Anatomed for resale to

Lilly.

         25.   The supplier agreement contained some terms that were objectionable to Duer.

One example of an objectionable term was BDA’s requirement prohibiting Duer from selling

Take-n-Slide products directly to any BDA customer for two years after expiration of

supplier agreement.

         26.   Shortly after Anatomed informed BDA of Duer’s objection to the two year

nonsolicitation language in BDA’s proposed supplier agreement, in late June/early July 2011

Lilly and BDA abruptly ended discussions to purchase Duer’s Take-n-Slide product.

         27.   When Anatomed inquired as to why the discussions ended, Defendants simply

responded that Lilly decided not to move forward with Duer’s product.

         28.   In or about September 2013, Duer became aware that Defendants had indeed

moved forward with Duer’s product, albeit without Duer’s knowledge or permission.

Specifically, Defendants copied Duer’s product, copied Duer’s package insert sheet,

removed Duer’s patent number from Duer’s package insert sheet and distributed these items

to Defendants’ customers.

         29.   Duer became aware that Defendants had begun manufacturing, advertising,

selling and distributing a dosage adherence tool when one of Defendants’ customers


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mistakenly contacted Plaintiff after falsely believing the product the customer had received

from Defendants was actually Plaintiff’s product.

      30.    Since the filing of this lawsuit, Duer has been contacted by yet another of

Defendants’ customers who mistakenly believed that the product the customer has received

from Defendants was actually Plaintiff’s product.

                                ACCUSED PRODUCTS
      31.    Defendants have imported, made, used, offered for sale and/or sold certain

products that embody one or more claims of the ‘358 Patent, including a medicine dosage

adherence tool pictured in Exhibit D-1 (the “Accused Product”).

      32.    Defendants have, without permission, copied substantial portions of Duer’s

package insert sheet and enclosed Defendants’ package insert sheet with the Accused Product

for distribution to customers. For example, Defendants copied the image of an adherence

tool affixed to a pill bottle from Duer’s package insert sheet, removed the patent number

from Duer’s package insert sheet, and copied Duer’s product use instructions from Duer’s

package insert sheet. On information and belief, a true and correct copy of the front and

back of Defendants’ package insert sheet is attached hereto as Exhibits D-1 and D-2.

      33.    Defendants have, without permission, used Plaintiff’s Take-n-Slide trademark,

and similar variations thereof, without permission from Plaintiff.




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      34.    Defendants’ use of Plaintiff’s trademark, and similar variations thereof, is likely

to cause confusion and has caused actual confusion in the marketplace by suggesting a false

affiliation, connection, sponsorship and/or association with Plaintiff.

                                DEFENDANTS’ NOTICE
      35.    Defendants have had actual and constructive notice of the ‘358 Patent since at

least as early as 2010.

                                         COUNT I

                  INFRINGEMENT OF U.S. PATENT NO. 7,614,358
      36.    Duer restates and realleges the allegations set forth in the foregoing paragraphs

of this Complaint and incorporates them by reference.

      37.    Without a license or permission from Duer, Defendants infringed one or more

claims of the ‘358 Patent, directly, contributorily, through equivalents, and/or by inducement,

by importing, making, using, offering for sale, and/or selling products and devices which

embody the patented invention, including, without limitation, one or more of the Accused

Products pictured in Exhibits D-1, in violation of 35 U.S.C. § 271.

      38.    Defendants directly contributed and induced infringement through supplying

infringing products to customers. Defendants’ customers who purchased products and/or

used products in accordance with Defendants’ instructions directly infringe one or more

claims of the ‘358 Patent, in violation of 35 U.S.C. § 271.


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      39.    On information and belief, Defendants have indirectly infringed and continue to

indirectly infringe the ‘358 Patent by actively inducing direct infringement by other persons -

- specifically, Defendants’ customers -- who use products covered by one or more of the

claims of the ‘358 Patent when Defendants had knowledge of the ‘358 Patent and knew or

should have known that their actions would induce direct infringement by others and

intended that their actions would induce direct infringement by others.

      40.    The acts of infringement of the ‘358 Patent by Defendants have caused damage

to Duer and Duer is entitled to recover from Defendants the damages sustained by Duer as a

result of the wrongful acts of Defendants in an amount subject to proof at trial.

      41.    Defendants have had actual or constructive knowledge of the ‘358 Patent, yet

infringe said patent. The infringement of the ‘358 Patent by Defendants was willful and

deliberate, entitling Duer to increased damages under 35 U.S.C. § 284 and to attorneys’ fees

and costs incurred in prosecuting this action under 35 U.S.C. § 285.

                                           COUNT II

                            COPYRIGHT INFRINGEMENT

      42.    Duer hereby incorporates by reference the allegations of the preceding

paragraphs as if set forth fully herein.

      43.    On information and belief, a package insert bearing an image of an adherence

tool affixed to a pill bottle and product use instructions substantially identical to Duer’s


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package insert accompanies Defendants’ adherence tool for distribution to customers. See

Exhibit D-1 and D-2 hereto.

       44.    On information and belief, the image of the adherence tool affixed to the pill

bottle in Defendants’ product insert is the identical image Duer provided to Defendants when

Defendants were discussing purchasing adherence tools from Duer.

       45.    On information and belief, Defendants altered Duer’s image of the adherence

tool affixed to a pill bottle to remove Duer’s patent number from view.

       46.    Defendants have copied Duer’s copyrighted materials (the product insert

bearing the image of adherence tool affixed to a pill bottle and instruction sheet reflected in

copyright registration number VA 0001911109, 0001431705) thereby violating Duer’s

copyrights.

       47.    Defendants are liable for infringing Duer’s copyrights.

       48.    Defendants’ copyright infringement was deliberate and wilful.

       49.    Duer has suffered damages as a result of Defendants’ infringement of Duer’s

copyrighted materials and will continue to suffer damages and irreparable harm in the future

unless Defendants are enjoined from current infringing activities.

       50.    Duer is entitled to recover damages, Defendants’ profits, attorney’s fees and

other costs of litigation.




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                                           COUNT III

                           TRADE DRESS INFRINGEMENT

       51.   Duer hereby incorporates by reference the allegations of the preceding

paragraphs as if set forth fully herein.

       52.   Duer’s adherence tool product consists of inherently distinctive trade dress that

is well known to the consuming public, has generated substantial goodwill for Duer and is of

substantial value.

       53.   Duer extensively markets her product, among other ways, through a website

www.take-n-slide.com and through an exclusive distributor Richard Cosgrove of Anatomed,

Inc.

       54.   Tens of thousands of dollar have been spent extensively and continuously

marketing Duer’s product for at least five years, and the public has come to associate Duer’s

product with a single source, namely Duer.

       55.   The overall shape, size, and design of Duer’s product, to include its rectangle

shape, vertical orientation of the days of the week down the left side of the product and the

red and green color scheme is inherently distinctive and has acquired secondary meaning.

       56.   Duer’s trade dress elements described herein are primarily non-functional in that

they are not essential to the use or purpose of the product.




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      57.    Defendants have intentionally copied the trade dress of Duer’s Take-n-Slide

product to include the design, shape, size and red and green color scheme of Duer’s product.

An image of Defendants’ infringing product is attached hereto as Exhibit D-1.

      58.    Defendants’ use of the trade dress which is closely associated with Duer’s

product is likely to deceive purchasers into believing Defendants’ and Duer’s products come

from the same source or are manufactured with permission of the same source.

      59.    Defendants’ attempt to pass off Defendants’ product as Duer’s product has

resulted in a likelihood of confusion in the marketplace in violation of Section 43(a) of the

Lanham Act.

      60.    Defendants’ infringement of Duer’s trade dress was deliberate and wilful.

      61.    Duer has suffered damages as a result of Defendants’ infringement of Duer’s

trade dress and will continue to suffer damages and irreparable harm in the future unless

Defendants are enjoined from infringing activities.

      62.    Duer is entitled to recover damages, enhanced damages, attorney’s fees and

litigation expenses.

                                           COUNT IV

                            TRADEMARK INFRINGEMENT

      63.     Duer hereby incorporates by reference the allegations of the preceding

paragraphs as if set forth fully herein.


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      64.    Defendants’ use of the mark Take-n-Slide and similar variations thereof (to

include without limitation “T-n-S”), is likely to cause confusion and has caused actual

confusion in the minds of consumers as to the source, origin, association, affiliation,

approval or sponsorship of goods offered by Plaintiff and Defendants in violation of the

Lanham Act and common law.

      65.    Defendants’ use of the mark Take-n-Slide, and similar variations thereof, has

caused and continues to cause irreparable harm and damage to Plaintiff and will continue to

do so until permanently enjoined.

      66.    As a result of Defendants’ unlawful conduct, Plaintiff is entitled to recover (1)

Defendant’s profits, (2) damages sustained by Plaintiff, (3) enhanced damages and (4) the

costs of this action, to include, reasonable attorney’s fees.

      67.    As a result of Defendants’ unlawful conduct, Defendants should be temporarily,

preliminarily, and permanently enjoined from using the mark Take-n-Slide and similar

variations thereof, on or in connection with dosage adherence tools.

      68.    Defendant’s conduct in violating Plaintiff’s rights under 15 U.S.C. § 1125(a)

and common law was and continues to be malicious, fraudulent, deliberate, or willful. As a

result, this is an exceptional case under 15 U.S.C. § 1117(a).




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                                    PRAYER FOR RELIEF
      WHEREFORE, Duer prays for the following relief against Defendants:

      A.        A judgment that Defendants have directly infringed the ‘358 Patent;

contributorily infringed the ‘358 Patent; and/or induced infringement of the ‘358 Patent;

      B.        An award of all damages recoverable under the laws of the United States and

the laws of the State of Georgia in an amount to be proven at trial;

      C.        An award of treble damages pursuant to 35 U.S.C. § 284 against Defendants as

a result of Defendants’ willful infringement;

      D.        A judgment requiring Defendants to pay the costs of this action (including all

disbursements) and attorneys’ fees as provided by 35 U.S.C. § 285, with prejudgment

interest; and

      E.        A judgment that Defendants infringed Duer’s trade dress infringement;

      F.        An award of damages and enhanced damages associated with Defendants’

infringement of Duer’s trade dress;

      G.        A judgment that Defendants infringed Duer’s Take-n-Slide trademark;

      H.        An award of damages and enhanced damages associated with Defendants’

infringement of Duer’s trademarks.

      I.        A finding that this is an exceptional case and awarding litigation costs to include

reasonable attorney’s fees to Duer;

      J.        A judgment that Defendants engaged in copyright infringement;
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      K.     An award of damages, Defendants’ profits and enhanced damages associated

with Defendants’ copyright infringement, and attorney’s fees;

      L.     Enhanced damages as a result of Defendants’ deliberate and wilful unlawful

conduct;

      M.     An injunction prohibiting Defendants from engaging in the unlawful conduct

alleged herein;

      N.     An award to Duer of litigation costs to include reasonable attorney’s fees;

      O.     Such other and further relief as this Court may deem just and equitable.

                            DEMAND FOR JURY TRIAL
      Plaintiff hereby demands that all issues so triable be determined by a jury.

      Respectfully submitted, this 22nd day of July, 2015.


                                              FLYNN PEELER & PHILLIPS LLC

                                              s/Charles E. Peeler
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                             CERTIFICATE OF SERVICE

      I hereby certify that on July 22, 2015, I electronically filed the foregoing THIRD

AMENDED COMPLAINT with the Clerk of Court using the CM/ECF system which will

automatically send email notification of such filing to the following attorneys of record:

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                                              FLYNN PEELER & PHILLIPS LLC

                                              s/Charles E. Peeler
                                              Charles E. Peeler




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